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                IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION




UNITED STATES OF AMERICA

vs.                                             NO. 4:10CR00190-002 SWW

IRENE CORONA MEJIA



                                        ORDER

      Pending    before   the   Court    is   government's   motion   to   dismiss

indictment against defendant Irene Corona Mejia pursuant to Rule 48(a)

of the Federal Rules of Criminal Procedure.

      IT IS SO ORDERED that the government’s motion to dismiss indictment

against the above-named defendant be GRANTED, and the indictment pending

against defendant Irene Corona Mejia is dismissed without prejudice.

      DATED this 29th day of August 2011.



                                                /s/Susan Webber Wright

                                                UNITED STATES DISTRICT JUDGE
